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 2
 3                              UNITED STATES DISTRICT COURT
 4                                      DISTRICT OF NEVADA
 5
     RUTH QUIMBY,
 6                                                          Case No.: 2:19-cv-02181-JCM-NJK
            Plaintiff,
 7                                                                            Order
     v.
 8                                                                    [Docket No. 48]
     MICHAEL STEVENS, et al.,
 9
            Defendants.
10
11         Pending before the Court is Defendants’ motion for the Court to set reasonable deposition
12 fees for the deposition of Dr. Firooz Mashhood. Docket No. 48. The Court previously granted
13 Defendants’ motions on this same matter and required Defendants to file a motion for each
14 deposition “to calculate reasonable expert witness fees, addressing the appropriate factors and case
15 law, no later than November 16, 2021.” Docket No. 47. In the instant motion, Defendants ask the
16 Court to set a fee of $1,000 per hour with no minimum hourly requirement for the deposition of
17 Dr. Mashhood. Docket No. 48. Defendants submit this rate is comparable to standard rates for
18 similar experts in the Las Vegas area. Docket No. 48-1 at 3. Plaintiff filed no response to this
19 request. See Docket. Accordingly, Defendants’ motion is properly granted as unopposed. See
20 Local Rule 7-2(d) (“The failure of an opposing party to file points and authorities in response to
21 any motion . . . constitutes a consent to the granting of the motion.”).
22         Accordingly, the Court GRANTS Defendants’ motion. Docket No. 48. The deposition
23 of Dr. Mashhood will proceed with an hourly rate of $1,000 and no minimum hourly
24 requirement.
25         IT IS SO ORDERED.
26         Dated: December 2, 2021
27                                                               ______________________________
                                                                 Nancy J. Koppe
28                                                               United States Magistrate Judge

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